Filed 8/23/24 P. v. Sanchez CA6
                      NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
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                  IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                      SIXTH APPELLATE DISTRICT


 THE PEOPLE,                                                         H051274
                                                                    (Santa Clara County
             Plaintiff and Respondent,                               Super. Ct. No. 207514)

             v.

 ELIAZAR SANCHEZ,

             Defendant and Appellant.



         In 1999, Eliazar Sanchez was sentenced to imprisonment for 25 years to life. As
part of this sentence, the trial court imposed an enhancement for a prior prison term, but
struck the punishment. In 2023, relying on intervening legislation retroactively
invalidating most “prison priors” and providing for resentencing of inmates upon whom
now-invalid enhancement were imposed (Penal Code, § 1172.75),1 Sanchez petitioned
for resentencing. The trial court denied the petition because the prison prior imposed
upon Sanchez was not executed. Sanchez appeals, arguing that section 1172.75 requires
resentencing whenever a now-invalid prison prior was imposed, whether punishment for
the prior was executed, stayed, or stricken. We agree. Accordingly, we reverse and
remand with directions to resentence Sanchez under section 1172.75.




         1
              Subsequent undesignated statutory references are to the Penal Code.
                                     I. BACKGROUND

       In 1998, an information charged Sanchez with various offenses relating,
among other things, to the possession and transportation of methamphetamine as well as
carrying and concealing a firearm. In addition, the information alleged various
sentencing enhancements, including one under former section 667.5, subdivision (b)
involving a robbery conviction for which Sanchez served a prison term. In March 1999,
a jury found Sanchez guilty on all counts, and later that year the trial court found true the
prison prior allegation. Accordingly, the trial court sentenced Sanchez to a total term of
25 years to life.
       While a prison prior enhancement under section 667.5, subdivision (b) was
included in both the clerk’s minutes and the abstract of judgment, both indicated “S,” or
stayed, for the enhancement’s term. However, at the sentencing hearing the trial stated
that “[t]he court does strike in the interest of justice the additional one year enhancement
under 667.5(b). The one year that is stricken is in the interest of justice.”
       In July 2023, invoking amendments to section 667.5, subdivision (b) made
retroactive by Senate Bill No. 483 (2020-2021 Reg. Sess.), Sanchez requested
resentencing under section 1172.75 in light of the prison prior imposed on him. In
response, the prosecutor did not dispute that a prison prior was imposed on Sanchez or
that he had been identified by the Department of Corrections and Rehabilitation as having
an eligible prior.2 Instead, the prosecutor argued that Sanchez was not entitled to
resentencing under section 1172.75 because punishment for the prison was not executed.
       The trial court considered Sanchez’s petition along with the petitions of other
incarcerated individuals upon whom prison priors were imposed but punishment was
stayed or stricken rather than executed. At the hearing, the trial court denied all the
petitions, concluding that a “Penal Code Section 667.5(b) enhancement was not imposed

       2
         Because Sanchez’s identification has not been challenged, we deny as moot his
request to augment the record on appeal to add evidence of identification.
                                              2
if it is stayed or punishment stricken.” That same day, the trial court issued an order
pertaining to Sanchez, which likewise held that “[t]he section 667.5(b) enhancement was
not ‘imposed’ because no additional term of punishment was added to the base when the
publishment was stayed or stricken at the time of sentencing.”
       Five days later, Sanchez filed a timely notice of appeal.
                                        II. DISCUSSION

       Sanchez contends that the trial court erred in denying him resentencing because
section 1172.75 requires only that a now-invalid prison prior was “imposed” and does not
implicitly add any requirement that punishment for the prison prior be executed.
However, before considering that question, we consider a threshold issue raised by the
Attorney General on appeal: whether a prison prior was imposed on Sanchez.
   A. The Prison Prior

       The Attorney General contends that the trial court did not merely strike the
punishment for Sanchez’s prison prior; according to the Attorney General, the trial court
struck the prison prior entirely. We read the record differently.
       Although the trial court’s statements in the sentencing transcript are somewhat
ambiguous, they are best understood as striking the punishment for Sanchez’s prison
prior rather than striking the prison prior in its entirety. There is no mention of striking
the prison prior in its entirety or the allegation underlying it. Instead, the trial court
focused on punishment, saying that it was striking the “one year enhancement,” and that
the “one year” was stricken in the interest of justice: “The Court does strike in the
interest of justice the additional one year enhancement under 667.5(B). The one year that
is stricken is in the interest of justice.” If the trial court had intended to strike the prison
prior in its entirety, it would not have needed to refer to the “one year enhancement,” and
it likely would have said that the enhancement, not the “one year,” was being stricken in
the interest of justice. It is possible, of course, that in mentioning the “one year,” the trial
court was merely stressing its motive for striking the prison prior in its entirety. But if
                                                3
the trial court was motivated by concerns about excess punishment, it is more likely to
have struck the punishment rather than the prison prior in its entirety. We therefore
conclude that the trial court imposed a prison prior on Sanchez but struck the punishment
for it.
          This conclusion is supported by the background rules under which the trial court
was operating in 1999 when Sanchez was sentenced. Then, as now, trial courts had
discretion to strike sentencing enhancements in their entirety or to strike only the
punishment for them. (§ 1385, subds. (a), (b)(1); see also People v. Bradley (1998) 64
Cal.App.4th 386, 391, fn. 2 [noting that in 1998 section 1385 conferred similar
discretion].) In addition, in 1999, the California Rules of Court instructed judges that, if
they had discretion, they should strike the additional term for an enhancement rather than
striking the allegation of the enhancement (and, thus, striking the enhancement entirely):
“If the judge has statutory discretion to strike the additional term for an enhancement, . . .
[¶] [t]he judge should not strike the allegation of the enhancement.” (Cal. Rules of Court,
former rule 428.) Because “ ‘[r]ules of court have the force of law’ ” (In re I.V. (2017)
11 Cal.App.5th 249, 256), and trial courts are “ ‘ “presumed to have been aware of and
followed the applicable law,” ’ ” (People v. Bryant, Smith and Wheeler (2014) 60 Cal.4th
335, 398), we must presume that the trial court did what our reading of the transcript
suggests: It struck the punishment for Sanchez’s prison prior.
          Our reading is also supported by the understanding of all participants in Sanchez’s
cases except for the Attorney General in this appeal. When Sanchez’s sentence was
announced, the clerk understood that the trial court had imposed a prison prior. The
clerk’s minute order indicates that an enhancement under section 667.5, subdivision (b)
was imposed but lists the term as “S,” and the abstract of judgment similarly lists the
enhancement with term as “S.” (While the printed form containing the abstract indicates
that “S” stands for stayed, as the abstract states “DO NOT LIST enhancement stricken
under PC 1385,” it is likely that the clerk either mistakenly entered “S” or used it to
                                               4
indicate the punishment was stricken.) In addition, on Sanchez’s direct appeal, this Court
understood that the trial court had not struck the prison priors: It noted that the trial court
“found all prior allegations to be true” and “denied defendant’s motion to strike the
priors.” And in the proceedings currently on appeal, the parties and the trial court all
understood that a prison prior had been imposed on Sanchez. Sanchez represented that
the prior “has not been stricken in its entirety,” the district attorney agreed that the
abstract of judgment “reveals that the sentencing court struck the punishment/stayed the
prison prior allegation,” and in its order denying Sanchez resentencing, the trial court
observed that “the punishment was stayed or stricken at the time of sentencing.”
       As a consequence, we conclude that the trial court imposed a prison prior on
Sanchez but struck the punishment for it and therefore turn to the question whether
Sanchez was entitled to resentencing in light of the imposition of the prison prior.
   B. Resentencing

       The Attorney General defends the denial of Sanchez’s petition for resentencing by
arguing that section 1172.75 renders previously imposed prison priors invalid and
authorizes resentencing only where the prison prior was both imposed and executed.
Reviewing this question of statutory interpretation de novo (People v. Renteria (2023) 96
Cal.App.5th 1276, 1281-1282 (Renteria)), we conclude that section 1172.75 should be
interpreted according to the ordinary meaning of the word “impose” and therefore applies
whenever a prison prior is included in a judgment, whether punishment for the prior is
executed, stayed, or struck.
       1. Statutory Background
       Prison priors are governed by section 667.5. When first enacted in 1976, this
section required trial courts to impose a one year enhancement for any felony for which a
prison sentence had been served, unless the defendant remained free of custody for at
least five years after completing that sentence. (Stats.1976, ch. 1139, § 268 [former
§ 667.5, subd. (b)]; see also Stats. 2011, ch. 15, § 442 [extending section 667.5, subd. (b)
                                               5
to include sentences of imprisonment in a county jail for more than one year].) In 2019,
the Legislature fundamentally changed section 667.5. Effective January 1, 2020, it
amended the section to eliminate prison priors for all crimes except sexually violent
offenses. (Stats. 2019, ch. 590, § 1.)
       In Senate Bill No. 483 (2021-2022 Sess.) (Sen. Bill 483), the Legislature made
this change retroactive. (Stats. 2021, ch. 728, § 3.) In what is now section 1172.75 (Stats.
2022, ch. 58, § 12), the Legislature rendered any prison prior that was imposed before
2020, and was not for a sexually violent offense, invalid: “Any sentence enhancement
that was imposed prior to January 1, 2020, pursuant to subdivision (b) of Section 667.5,
except for any enhancement imposed for a prior conviction for a sexually violent
offense . . . [,] is legally invalid.” (§ 1172.75, subd. (a).)
       In addition, section 1172.75 requires full resentencing where now-invalid
enhancements were imposed. Indeed, section 1172.75 requires the Secretary of the
Department of Corrections and Rehabilitation to identify any individual in custody
“currently serving a term for a judgment that includes an enhancement described in
subdivision (a).” (§ 1172.75, subd. (b).) Upon receiving this information, the court that
sentenced the individual is required to verify that “the current judgment includes a
sentencing enhancement described in subdivision (a).” (§ 1172.75, subd. (c).) If the
sentencing court verifies that the individual’s judgment includes a now-invalid prison
prior, the court is required to recall the sentence and resentence the individual (ibid.),
giving priority to those individuals who are “currently serving a sentence based on the
[prison prior] enhancement.” (§ 1172.75, subd. (c)(1).) Such resentencing must apply
any changes in the law reducing sentences or providing judicial discretion. (§ 1172.75,
subd. (d)(2).) And the resentencing must result in a “lesser sentence” unless a lesser
sentence would endanger public safety. (§ 1172.75, subd. (d)(1).)




                                                6
       2. The Word “Impose”
       Although section 1172.75, subdivision (a) states that “[a]ny sentence enhancement
that was imposed” for a prison prior for crimes other than sexually violent offenses is
invalid, the Attorney General contends that section 1172.75 does not apply to all prison
priors imposed for such crimes. Instead, the Attorney General contends that
section 1172.75 applies only to prison priors that were both imposed and executed. Most
decisions considering this issue have rejected the execution requirement that the Attorney
General urges us to adopt and instead interpreted the word “impose” according to its
ordinary meaning. We see no persuasive reason to take a different approach.
       A recent decision from this district, albeit with a dissent, concluded that
section 1172.75 requires resentencing where, as here, prison priors were imposed but
punishment for them was stricken. (People v. Espino (Aug. 12, 2024, H051258) ___
Cal.App.5th ___ [2024 Cal.App. LEXIS 501].) We follow the reasoning of that decision,
which, for the sake of convenience, is recounted below.
       A number of published decisions have considered whether section 1172.75
requires resentencing where a prison prior was imposed but stayed. Most have concluded
that it does. The first decision to consider the issue was from this district. Rejecting the
Attorney General’s implied execution requirement, the decision held that resentencing is
required where a prison prior was imposed but punishment was stayed. (See Renteria,
supra, 96 Cal.App.5th at pp. 1282-1283.) Subsequent decisions from the Third, Fourth
and Fifth Districts agreed. (People v. Mayberry (June 4, 2024, F085869) 102
Cal.App.5th 665, 673-676 (Mayberry) [Fifth District]; People v. Saldana (2023) 97
Cal.App.5th 1270, 1272-1273, review granted Mar. 12, 2024, S283547 (Saldana) [Third
District]; People v. Christianson (2023) 97 Cal.App.5th 300, 314, review granted Feb.
21, 2024, S283189 (Christianson) [Fourth District].) One published decision, from
Division Two of the Fourth District, disagreed. (People v. Rhodius (2023) 97
Cal.App.5th 38, 40-41, 45, 48-49, review granted Feb. 21, 2024, S283169 (Rhodius).)
                                              7
The Supreme Court has granted review of this decision and two of the decisions taking
the opposite view. (Rhodius, supra, S283169; Christianson, supra, S283189; Saldana,
supra, S283547.)
       We see no good reason to reject the weight of authority interpreting
section 1172.75 and imply an execution requirement into the word “impose.” In
interpreting statutes, our fundamental task is “ ‘ “ ‘to ascertain the intent of the
lawmakers so as to effectuate the purpose of the statute.’ ” ’ ” (People v. Blackburn
(2015) 61 Cal.4th 1113, 1123.) In doing this, “[w]e begin with the text, ‘giv[ing] the
words their usual and ordinary meaning [citation], while construing them in light of the
statute as a whole and the statute’s purpose’ [citation].” (Ibid.; see also People v. Vidana
(2016) 1 Cal.5th 632, 638 [“ ‘Ordinarily, the words of the statute are the most reliable
indication of legislative intent.’ ”].) In the context of an obligation or penalty, the
ordinary and usual meaning of the word “impose” is “to make, frame, or apply (as a
charge, tax, obligation, rule, penalty) as compulsory, obligatory or enforc[ea]ble.”
(Webster’s 3d New Internat. Dict. (1993) p. 1136, col. 1; see also American Heritage
Dict. (5th ed. 2011) p. 883, col. 2 [defining “impose” to mean “establish or apply as
compulsory” or “bring about by authority or force”].) As a consequence, under
section 1172.75, subdivision (a), “[a]ny sentence enhancement that was imposed” is
naturally understood to mean any enhancement that the sentencing court included in a
judgment, whether punishment for it was executed, stayed, or struck.
       As the Attorney General points out, the word “impose” is often “ ‘employed as
shorthand’ ” to refer to enhancements that are both imposed and executed. (People v.
Gonzalez (2008) 43 Cal.4th 1118, 1125 (Gonzalez).) Thus, where the context shows that
“impose” refers to a term of imprisonment—as in the firearm enhancement statute, which
states that “[o]nly one additional term of imprisonment under this section shall be
imposed” on a person for each crime (§ 12022.53, subd. (f))—it is interpreted to be a
shorthand for enhancements that are both imposed and executed. (Gonzalez, supra, at
                                               8
pp. 1126-1127.) Section 1172.75, however, does not refer to imposition of a term of
imprisonment. To the contrary, it refers to “[a]ny sentence enhancement that was
imposed” (§ 1172.75, subd. (a), italics added), which suggests that the Legislature
intended to use the word “imposed” in a broad sense. Moreover, the Penal Code
expressly authorizes courts to “strike the additional punishment for [an] enhancement”
where doing so would be in furtherance of justice. (§ 1385, subd. (b)(1).) Thus,
according to the Penal Code, a sentencing enhancement remains an enhancement even if
the punishment for it was not executed, and nothing about the language accompanying
the word “impose” in section 1172.75 suggests that it was being used as a shorthand to
refer to prison priors that were imposed and executed.
       The Attorney General notes that section 1172.75 generally requires resentencing
to “result in a lesser sentence than the one originally imposed” (§ 1172.75, subd. (d)(1))
and argues that a sentence for an enhancement cannot be reduced if punishment for it was
stricken. Multiple decisions have considered and rejected this argument. (Mayberry,
supra, 102 Cal.App.5th at pp. 673-676; Saldana, supra, 97 Cal.App.5th at p. 1278,
rev.gr.; Christianson, supra, 97 Cal.App.5th at p. 312, rev.gr.) As these decisions
recognize, even when punishment for an enhancement is stayed, the enhancement carries
“the potential for an increased sentence in certain circumstances, and removal of the
stayed enhancement does provide some relief to the defendant by eliminating that
potential.” (Christianson, supra, 97 Cal.App.5th at p. 312.) When a prison prior or other
enhancement is imposed but stayed, the trial court retains the ability under certain
circumstances to lift the stay on prison priors and execute the stayed term. (Ibid.; see also
Mayberry, supra, 102 Cal.App.5th at p. 674 [“Imposed-but-stayed prison prior term
enhancements carry the possibility of execution.”]; Saldana, supra, 97 Cal.App.5th at
p. 1278 [“The presence of a stayed term or enhancement is not without significance; it is
part of the sentence and remains available if its execution becomes necessary and proper
for any legally sanctioned reason.”].) Thus, contrary to the Attorney General’s assertion,
                                             9
even when a prison prior is stayed and not executed, elimination of the prison prior
reduces the potential sentence facing the defendant and therefore results in a lesser
sentence than the one originally imposed. (Mayberry, supra,102 Cal.App.5th at pp. 674-
675; Christianson, supra, 97 Cal.App.5th at p. 312; Saldana, supra, 97 Cal.App.5th at
p. 1278.) Consequently, section 1172.75’s resentencing provisions do not show that the
section uses the word “impose” as a shorthand for impose and execute.
       In addition, we find it unlikely that the Legislature silently intended to render only
those prison priors that were imposed and executed legally invalid. The language of
section 1172.75, subdivision (a) is unequivocal: As noted above, it states that “[a]ny
sentence enhancement that was imposed prior to January 1, 2020” for a crime other than
a sexually violent offense “is legally invalid.” (§ 1172.75, subd. (a), italics added.) In
addition, elsewhere in section 1172.75, the Legislature carefully differentiated inmates
based on how prison priors affected their sentence. Section 1172.75 requires the
Department of Corrections to identify, and courts to resentence, all individuals in the
Department’s custody currently serving a “judgment that includes an enhancement
described in subdivision (a).” (§ 1172.75, subd. (b), (c).) However, the section requires
both the Department and the courts to identify and resentence individuals “who have
served their base term . . . and are currently serving a sentence based on the
enhancement” (§ 1772.75, subd. (b)(1), (c)(1)), before identifying and resentencing “all
other individuals” (§ 1172.75, subd. (b)(2), (c)(2)). If the Legislature had intended to
exclude individuals with judgments including prison priors that were imposed but not
executed, it likely would have done so expressly and unequivocally, not silently and
ambiguously. (Christianson, supra, 97 Cal.App.5th at p. 313, rev.gr.)




                                             10
       We conclude that section 1172.75 should be interpreted according to the ordinary
meaning of the word “impose” to cover all prison priors for crimes other than sexually
violent offenses included by the sentencing court in an individual’s judgment, without
regard to whether punishment for those priors was executed.
                                    III. DISPOSITION
       The order denying Sanchez’s request for resentencing is reversed. The matter is
remanded to the trial court, which is directed to recall Sanchez’s sentence and resentence
him consistent with Penal Code section 1172.75 and current law.




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                                       ____________________________
                                       BROMBERG, J.




I CONCUR:




____________________________________
GROVER, ACTING P.J.




People v. Sanchez
H051274
Lie, J., Dissenting:
       For the reasons I stated in People v. Espino (Aug. 12, 2024, H051258) ___
Cal.App.5th ___ [2024 Cal.App. LEXIS 501] (dis. opn. of Lie, J.), I respectfully dissent.
                    ____________________________________
                    LIE, J.




People v. Sanchez
H051274
